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CCD irre.
“(ad

| | JAMES R. WHEATON (Cal. Bar No. 115230)

DAVID GREENE (Cal. Bar No. 160107)
2 | SOPHIA S. COPE (Cs ‘al, Bar No, 233428 ) CLERK. us. OS mcr count
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ranklin Street, 9th oor
Gakland CA 946]2 3 ants
4 || Pel: (510)208-7744

pee B10)208-4562 CENTRAL SSC GF ie

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6 | FRANK G, WELLS ENVIRONMENTAL LAW CEINIC

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Attiomeys for Defendant SANDY STEERS

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Oo
we WESTERN DIVISION
©
- POINT DEVELOPMENT Case No. ED CV 04-1387 R (RZx)
16 . Plainttt NOTICE OF RESOLUTION OF
7] y SANCTIONS AND RELATED

CLAIMS; #2R@P@S8R4 ORDER
18 | UNITED STATES, SANDY STEERS,
and DOES | through 10,

19
Date: Monday, August 15, 2005
20 Defendants. Time: 10:00 a.m.
>| Location: U.S. Courthouse, 312
North Spring St., Los Angeles, CA
22 , 90012
23 . Courtroom: 8
74 ; Judge: Hon. Manuel Real
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20)

NOTICE [S HEREBY GIVEN that Sandy Steers and her attorneys, First
Amendment Project and the UCLA Environmental Law Clinic, have fully and
finally resolved any and all claims against Foley & Lardner LLP and §. Wayne
Rosenbaum and Susanne C. Washington arising from the August 15, 2005 ruling
by this Court, and have in addition settled related claims held by Ms. Steers
against Foley & Lardner LLP and members of that firm. In light of the settlement
and resolution of the issucs rclated to the motion for sanctions, the parties stipulate
and agree that all issucs related to the pending Rule 1] motion have been
concluded and that, if it meets with the Court’s approval, the accompanying order

terminating the litigation, submitted herewith, may be entered.

Dated: al |3 | of

Dated:
Foley & Lardner, [.1.P
[PROPOSED] ORDER
UPON ST TION BY THE PARTIES and review and approval by the

ourt that no matters remain in controversy heretn,
IT IS HEREBY ORDER

that no further proceedings be had here

ursuant to Rule 41, Fed, R. Civ, Proc.,

nd that this case be, and the same

hereby is, terminated.

DATED: September _, 2005 BY:
Hon. Manuel Real

United States District Judge

Case ON OE ly Document-78 “Filed 09/13/05 eo 2of4 Page ID #58

Stipulaion and [Propased] Order Extending Tine to ble Proposed Order Granting Defendant Sandy Steers” Motion for Sunchuns Pape 2

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Sep-12-05 14:18 © From-FOLEY & LARONER +6192343202 T4809 P.02/02 F938 ¢2
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to
] NOVICE IS HEREBY GIVEN that Sandy Steers and her attorneys, First

2 |) Amendment Project and the UCLA Environmental Law Clinic, have fully and

3 |) finally resolved any and all cluims against Foley & Lardner LLP and 8, Wayne

4] Rosenbauni and Susanne C. Washington arising from the August 15, 2005 ruling

5 || by this Court, and have in addition settled related claims held by Ms. Steers against
6 | Foley & Lurdner LLP and members of that firm, In light of the settlement and

7 || resolution of che issues related to the motion for sanctions, the parties stipulate and
8 | acrce that all issues rclated to the pending Rule 11 motinn have been concluded

9 | and that, it it meets with the Court’s approval, the accompanying order lerminating

10 || the litigation, submitted herewith, may be entered.

1]

32] Dated: _

13 First Amendmem Project

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15) Dated: if 2-[ 08” Ay phe Nr.

16 F oley/ fe Lardner, LLP

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19 ~PRAPSBE ORDER

39 | UPON ST IPULATION BY THE PARTIES and review and approval by the
71 | Court, it appearing To the Court that no matters remain in controversy herein,
9 IT]$ HEREBY ORDERED, pursuant to Rule 41, Fed. R. Civ. Proc,
93 | that no further proceedings be had herein and that thi ¥ be, and the same
74 | hereby is, terminated.

25

26 | DATED: September 3, 2005

United States District Judge

Notice af Resulunian Sanctions and Rela Claims; [Proposed] Onter Page 2

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PROOF OF SERVICE
I, Sarah-Rose Meredith, hereby declare:

lam over the age of 18 ycars and am not a party to this action. I am
employed in the county of Alameda. My business address 1s Public Interest Law
Offices, 1736 Franklin Street, Ninth Floor, Oakland, CA 94612.

On September 12",.2005, I caused to be served the attached:

1. NOTICE OF RESOLUTION OF SANCTIONS AND RELATED
CLAIMS; [PROPOSED] ORDER

BY MAIL. I caused the above identified document(s) addressed to the party(ics)
listed below to be deposited for collection at the Public Interest Law Offices or a
certified United States Postal Service box following the regular practice for

collection and processing of correspondence for mailing with the United States

Postal Service. In the ordinary course of business, correspondence is deposited
with the United States Postal Service on this day.
Susanne C, Washington Robert D. Crockett
> Wa ne Rosenbaum LATHAM & WATKINS, LLP
Poe & LARDNER, LLP 633 West Fifth Street
Floor Ste 4000
402 W. Brogdway Los Angeles CA 90071-2007
San Diego, CA 92101

that the foregoing is true and correct, and that this Declaration was executed at
Oakland, California on September 12”, 2005.
SLYHA
Sarah-Rose Meredith
CLARANT

Proot of Service

| declare under penalty of perjury, under the laws of the State of California,

Pane |

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